        Case 8:24-cv-01486-JVS-KES       Document 123      Filed 01/14/25   Page 1 of 2 Page ID
                                               #:412
                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                         JAN 14 2025
                                                                                   MOLLY C. DWYER, CLERK
                                                                                    U.S. COURT OF APPEALS

                                       DOCKETING NOTICE


       Docket Number:           25-224
       Originating Case Number: 8:24-cv-01486-JVS-KES

       Short Title:                  Stebbins v. Jones

      Dear Appellant/Counsel
      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity; (2) is a bankruptcy case; (3) is a criminal case
      involving an organizational victim; or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
         Case 8:24-cv-01486-JVS-KES       Document 123     Filed 01/14/25   Page 2 of 2 Page ID
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Clerk of Court



                                     TIME SCHEDULE ORDER


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        Case Title:                  Stebbins v. Jones



        Monday, February 24, 2025
        David Anthony Stebbins                                Appeal Opening Brief (No
                                                              Transcript Due)

        Tuesday, March 25, 2025
        Jarrod Jones                                          Appeal Answering Brief (No
                                                              Transcript Due)


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
